        Case: 1:11-cv-02282 Document #: 1 Filed: 04/05/11 Page 1 of 5 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Paul Ventura,                                )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )       No.    11 C 2282
                                             )
Professional Recovery Services, Inc.,        )
d/b/a Echelon Recovery, Inc., a New          )
Jersey corporation,                          )
                                             )
        Defendant.                           )       Jury Demanded

                                          COMPLAINT

        Plaintiff, Paul Ventura, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt collection

actions violated the FDCPA, and to recover damages for Defendant’s violations of the

FDCPA, and alleges:

                                 JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

        2.      Venue is proper in this District because: a) Plaintiff resides here; b) the

acts and transactions occurred here; and, c) Defendant resides and transacts business

here.

                                            PARTIES

        3.      Plaintiff, Paul Ventura ("Ventura"), is a citizen of the State of Illinois, from

whom Defendant attempted to collect a delinquent consumer debt owed for an HSBC

credit card, despite the fact that he was represented by the legal aid attorneys at the
      Case: 1:11-cv-02282 Document #: 1 Filed: 04/05/11 Page 2 of 5 PageID #:2




Chicago Legal Clinic's Legal Advocates for Seniors and People with Disabilities

program ("LASPD"), located in Chicago, Illinois.

       4.      Defendant, Professional Recovery Services, Inc., d/b/a Echelon Recovery,

Inc. (“Echelon”), is a New Jersey corporation that acts as a debt collector, as defined by

§ 1692a of the FDCPA, because it regularly uses the mails and/or the telephone to

collect, or attempt to collect, delinquent consumer debts. Defendant Echelon operates

a nationwide debt collection business and attempts to collect debts from consumers in

virtually every state, including consumers in the State of Illinois. In fact, Defendant

Echelon was acting as a debt collector as to the delinquent consumer debt it attempted

to collect from Plaintiff.

       5.      Defendant Echelon is authorized to conduct business in Illinois, and

maintains a registered agent here, see, record from the Illinois Secretary of State,

attached as Exhibit A. In fact, Echelon conducts business in Illinois.

       6.      Moreover, Defendant Echelon is licensed as a collection agency in Illinois,

see, record from the Illinois Division of Professional Regulation, attached as Exhibit B.

In fact, Echelon acts as a debt collector in Illinois.

                                 FACTUAL ALLEGATIONS

       7.      Mr. Ventura is a disabled man, with limited assets and income, who fell

behind on paying his bills, including a debt he owed for an HSBC credit card. When

Echelon began trying to collect this debt from Mr. Ventura, by sending him a collection

letter, dated December 22, 2010, he sought the assistance of the legal aid attorneys at

the Chicago Legal Clinic’s LASPD program, regarding his financial difficulties and

Defendant Echelon’s collection actions. A copy of Defendant's letter is attached as



                                               2
      Case: 1:11-cv-02282 Document #: 1 Filed: 04/05/11 Page 3 of 5 PageID #:3




Exhibit C.

       8.     Accordingly, on January 20, 2011, one of Mr. Ventura's attorneys at

LASPD informed Echelon, in writing, that Mr. Ventura was represented by counsel, and

directed Echelon to cease contacting him, and to cease all further collection activities

because Mr. Ventura was forced, by his financial circumstances, to refuse to pay his

unsecured debt. Copies of this letter and fax confirmation are attached as Exhibit D.

       9.     Nonetheless, Defendant Echelon sent a collection letter, dated February

8, 2011, directly to Mr. Ventura, which demanded payment of the HSBC debt. A copy of

this letter is attached as Exhibit E.

       10.    Accordingly, on March 2, 2011, one of Mr. Ventura’s LASPD attorneys had

to write to Defendant Echelon again to demand that it cease collection of the debt.

Copies of this letter and fax confirmation are attached as Exhibit F.

       11.    Defendant Echelon’s collection actions complained of herein occurred

within one year of the date of this Complaint.

       12.    Defendant Echelon’s collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                       COUNT I
                       Violation Of § 1692c(c) Of The FDCPA --
              Failure To Cease Communications And Cease Collections

       13.    Plaintiff adopts and realleges ¶¶ 1-12.

       14.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they



                                             3
      Case: 1:11-cv-02282 Document #: 1 Filed: 04/05/11 Page 4 of 5 PageID #:4




refuse to pay. See, 15 U.S.C. § 1692c(c).

      15.    Here, the letter from Mr. Ventura's, agent, LASPD, told Defendant Echelon

to cease communications and cease collections (Exhibit D). By continuing to

communicate regarding this debt and demanding payment (Exhibit E), Defendant

Echelon violated § 1692c(c) of the FDCPA.

      16.    Defendant Echelon’s violation of § 1692c(c) of the FDCPA renders it liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      17.    Plaintiff adopts and realleges ¶¶ 1-12.

      18.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      19.    Defendant Echelon knew that Mr. Ventura was represented by counsel in

connection with his debts because his attorneys at LASPD had informed Defendant, in

writing (Exhibit D), that he was represented by counsel, and had directed Defendant

Echelon to cease directly communicating with him. By directly sending Mr. Ventura a

collection letter (Exhibit E), despite being advised that he was represented by counsel,

Defendant Echelon violated § 1692c(a)(2) of the FDCPA.

      20.    Defendant Echelon’s violation of § 1692c(a)(2) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.



                                            4
      Case: 1:11-cv-02282 Document #: 1 Filed: 04/05/11 Page 5 of 5 PageID #:5




                                  PRAYER FOR RELIEF

       Plaintiff, Paul Ventura, prays that this Court:

       1.     Find that Defendant Echelon’s debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Ventura, and against Defendant

Echelon, for statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Paul Ventura, demands trial by jury.

                                                     Paul Ventura,

                                                     By: /s/ David J. Philipps____________
                                                     One of Plaintiff’s Attorneys

Dated: April 5, 2011

David J. Philipps      (Ill. Bar No. 06196285)
Mary E. Philipps       (Ill. Bar No. 06197113)
Philipps & Philipps, Ltd.
9760 S. Roberts Road
Suite One
Palos Hills, Illinois 60465
(708) 974-2900
(708) 974-2907 (FAX)
davephilipps@aol.com
mephilipps@aol.com




                                                 5
